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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP,                              )
                                              )
               Plaintiff,                     )
                                              )
               v.                             ) Civil Action No. 1:21-cv-2769 (TSC)
                                              )
BENNIE G. THOMPSON, et al.,                   )
                                              )
               Defendants.                    )
                                              )

      JOINT MOTION FOR A FURTHER SIXTY-DAY EXTENSION OF TIME TO
                       RESPOND THE COMPLAINT

       The parties to this matter jointly request a further sixty-day extension of time for

Defendants to respond to the current Complaint. In the absence of an extension, Defendants’

response is due March 7, 2022. The Court has granted three prior extensions of the response time.

       The parties’ motion is supported by good cause. The Supreme Court denied Plaintiff’s

Application for a Stay of Mandate and Injunction Pending Review, see Order No. 21A272, 595

U.S. ___ (2022) (Jan. 19, 2022), and on February 22, 2022, the Court denied Plaintiff’s petition

for certiorari. See https://www.supremecourt.gov/orders/courtorders/022222zor_bq7d.pdf.         The

parties have again conferred with respect to Defendants’ forthcoming response to the Complaint

and the future of the litigation. The parties agreed that the best course was to maintain the status

quo and further defer the Defendants’ response for sixty days so that Plaintiff can determine his

next steps.

       Accordingly, the parties request that the Court grant this unopposed motion for a further

sixty-day extension of time, until May 6, 2022, in which to respond to the Complaint.
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Dated: March 7, 2022               Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Principal Deputy Assistant Attorney General

                                   BRIAN D. NETTER
                                   Deputy Assistant Attorney General

                                   /s/ Elizabeth J. Shapiro
                                   ELIZABETH J. SHAPIRO (D.C. Bar 418925)
                                   JAMES J. GILLIGAN
                                   JULIA A. HEIMAN
                                   United States Department of Justice
                                   Civil Division, Federal Programs Branch
                                   1100 L Street, NW, Room 12100
                                   Washington, D.C. 20530
                                   Tel: (202) 514-5302
                                   Fax: (202) 616-8470
                                   Email: elizabeth.shapiro@usdoj.gov
                                   Attorneys for NARA Defendants


                                   /s/ Douglas N. Letter
                                   DOUGLAS N. LETTER (D.C. Bar No. 253492)
                                   General Counsel
                                   TODD B. TATELMAN (VA Bar No. 66008)
                                   ERIC R. COLUMBUS (D.C. Bar No. 487736)
                                   STACIE M. FAHSEL (D.C. Bar. No. 1034314)
                                   Office of General Counsel
                                   U.S. House of Representatives
                                   5140 O’Neill House Office Building
                                   Washington, DC 20515
                                   (202) 225-9700
                                   douglas.letter@mail.house.gov
                                   Attorneys for Committee Defendants




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